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UNITED STATES BANKRUPTCY COURT FOR   Document
                                   MIDDLE DISTRICTPage
                                                   OF 1 of 2   PROOF OF ADMINISTRATIVE
TENNESSEE                                                           EXPENSE CLAIM
Name of Debtor: In re Essex Technology Group, LLC, Case No. 25-00452

NOTE: This form should only be used by claimants as specified in the Notice of the Administrative Expense Claims Bar Date. IT SHOULD NOT BE USED FOR CLAIMS
E CLUDED BY SAID NOTICE NOR SHOULD IT BE USED FOR ANY CLAIMS THAT ARE NOT OF A KIND AND ENTITLED TO PRIORITY IN ACCORDANCE
WITH 11 U.S.C. §§ 503(b) AND 507(a)(2)

Name of Creditor (The person or other entity to whom the debtor owes money or property):
                                                                                                                                    Check box if you are aware that anyone else has
                                                                                                                                     filed a proof of claim relating to your claim.
           Monster Energy Company                                                                                                    Attach copy of statement giving particulars.

           1 Monster Way, Corona, CA 92879
Address:




Account or other number by which
                                                      Check                           a previously filed claim, dated:
Creditor identifies Debtor: 1006583                   here if         replaces
                                                      this            amends          prior claim number, if known:
                                                      claim

 1. Basis for Claim
    x Goods sold          Services performed          Money loaned (Goods only - no services were provided.)
       Personal injury/wrongful death
       Taxes
       Claim entitled to administrative priority pursuant to 11 U.S.C. §      Retiree benefits as defined in 11 U.S.C. § 1114(a)
      503(b)(9). If selected, indicate the amount of your claim arising from  Wages, salaries and compensation (fill out below)
      value of any goods received by the Debtor within the twenty (20) days    Last four digits of SS #:
      before the date of commencement of the above case, in which the          Unpaid compensations for services performed
      goods have been sold to the Debtor in the ordinary course of the         from                 to
      Debtor’s business.                                                               (date)            (date)
      Other
2. Date debt was incurred: January 17, 2025. See attached invoices                           3.    If court udgment, date obtained:
and bills of lading. 8,736 cases of goods were delivered via Echo Global
Logistics on January 21, 2025.                                                                      Not Applicable

4. Total Amount of Administrative Claim:               $36,691.12 - Value of goods: $36,691.12
          Check this box if your claim includes interest or other charges in addition to the principal amount of the claim. Attach itemized statement of all interest or
     additional charges.

5. Brief Description of Claim (attach required information for support of 503(b)(9) Claim): Shipment of Reign Storm energy products
     sent to Debtor at 3815 Logistics Way, Antioch, TN 37013-2418. See attached invoices 902873888 and 902873889.
 6. Offsets, Credits and Setoffs                                                      7. Assignment:
    All payments made on this claim by the Debtor have been credited                    If the claimant has obtained this claim by assignment, a copy is attached
    and deducted from the amount claimed hereon                                          hereto.
    This claim is not subject to any setoff or counterclaim

 8. Supporting Documents: As stated above, please see attached invoices 902873888 and 902873889, as well as documentation that reflects the
       date the Debtor received the goods, the method of delivery and the name of the carrier through which the goods were delivered. No other claim
       has been filed against the Debtor regarding the goods underlying its 503(b)(9) claim.
  DO NOT SEND ORIGINAL DOCUMENTS.
9. Date-Stamped Copy: To receive an acknowledgment of the filing of your claim, enclose a stamped, self-addressed envelope and copy of this proof of claim.
                                                        Sign and print the name and title, if any, of the creditor or other person authorized to file this claim (attach copy of
Check the appropriate box:                              power of attorney, if any):

x I am the creditor.
                                                        (Signature)                                                  (Date)
  I am the creditor’s authorized agent. (Attach
copy of power of attorney, if any.)                     Print Name: David Drake
                                                        Title:      VP, National Convenience
                                                        Company:    Monster Energy Company
  I am the trustee, or the debtor, or their
authorized agent.                                       Address and telephone number (if different from notice address above):
(See Bankruptcy Rule 3004.)                                          2030 Powers Ferry Road SE, Suite 550
                                                                     Atlanta, GA 30339
  I am a guarantor, surety, endorser, or other
codebtor.
                                                        Email:          David.Drake@Monsterenergy.com
(See Bankruptcy Rule 3005.)
                                                    Fine of up to 500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571.
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             INSTRUCTIONS FOR FILING PROOF OF ADMINISTRATIVE EXPENSE CLAIM
        r           dd                    r       r                                   r     r                 r r                  r
                      r   r
 Debtor:                                                                                   Administrative Expense Claim:
 The person, corporation, or other entity that has filed a bankruptcy case is called the   A claim for payment of an administrative expense
 debtor. In this bankruptcy case the Debtor is:                                            of a kind specified in Section 503(b) of the
                                                                                           Bankruptcy Code and entitled to priority pursuant
  Debtor                                                                  Case No.         to Section 507(a)(2) of the Bankruptcy Code, and
  Essex Technology Group, LLC                                             25-00452         as specified in the Notice of Administrative
                                                                                           Expense Claims Bar Date.

                                                                                           Administrative Expense Claims Bar Date:
                                                                                           By Order of the United States Bankruptcy Court
                                                                                           for the Middle District of Tennessee, all requests for
                                                                                           the allowance of an Administrative Expense Claim
                                                                                           must be filed so as to be received at the address set
                                                                                           forth below no later than MAY [ ], 2025.


1. Please read this Proof of Administrative Expense Claim form carefully and fill it in completely and accurately.

2. Print legibly. Your claim may be disallowed if it cannot be read and understood.

3. This Proof of Administrative Expense Claim must be completed in English. The amount of any Administrative Expense Claim must
be denominated in United States currency.

4. Attach additional pages if more space is required to complete this Proof of Administrative Expense Claim.

5. This form should only be used by a claimant asserting an Administrative Expense Claim. It should not be used for claims excluded
by the Notice of Administrative Expense Claims Bar Date and should not be used for any claims that are not entitled to priority in
accordance with 11 U.S.C. §§ 503(b) and 507(a).

6. Proofs of Administrative Expense Claim must be submitted (i) electronically, on or before the Administrative Claims Bar
Date, by completing the applicable claim form that can be accessed at the court’s website https://ecf.tnmb.uscourts.gov/cgi-
bin/autoFilingClaims.pl, or (ii) by United States mail or other hand delivery system, so as to be actually received by the Clerk’s
Office on or before the Administrative Expense Claims Bar Date at the following address:

                  United States Bankruptcy Court
                  Middle District of Tennessee
                  701 Broadway, Room 170
                  Nashville, TN 37203

                  NOTE: The staff of the Clerk’s Office cannot give legal advice. Please also note that the Clerk Office is not authorized
                  to accept proofs of claim by facsimile, telecopy or electronic mail. To submit your claim electronically, please visit
                  https://ecf.tnmb.uscourts.gov/cgi-bin/autoFilingClaims.pl.

8. To be considered timely filed, this Proof of Administrative Expense Claim must be actually received by the Clerk’s Office by 4:00
P.M. (PREVAILING CENTRAL TIME) ON MAY [ ], 2025 and must include appropriate documents/materials establishing the
claimant’s entitlement to an allowed Administrative Expense Claim and the amount of your asserted claim.
